                                                                    Case 2:17-cr-00176-JAD-VCF Document 111 Filed 09/18/20 Page 1 of 2




                                                                                                UNITED STATES DISTRICT COURT
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                                                                                                            DISTRICT OF NEVADA
                                                                    2
                                                                    3   UNITED STAES OF AMERICA;                           Case No. 2:17-cr-00176-JAD-VCF

                                                                    4                          Plaintiff,
                                                                    5
                                                                               vs.
                                                                    6
                                                                        ROBERT FOLSOM;
                                                                    7                                                                          ORDER
                                                                    8                          Defendant.

                                                                    9
                                                                   10          The Court having reviewed the parties’ Stipulation (filed on September 17, 2020) to
                       Tele: (702) 366-1888 • Fax (702) 366-1940
                       4560 South Decatur Boulevard, Suite 300
PAUL PADDA LAW, PLLC




                                                                   11   continue the current hearing on the petition for pretrial revocation, it is hereby ordered that the
                               Las Vegas, Nevada 89103




                                                                   12
                                                                        stipulation is granted. In granting the Joint Stipulation, the Court renders the following
                                                                   13
                                                                        enumerated findings of fact:
                                                                   14
                                                                                       1. The hearing on the petition for pretrial revocation is currently scheduled on
                                                                   15
                                                                                          September 18, 2020.
                                                                   16
                                                                                       2. Defense Counsel is establishing a video conference with Defendant prior to
                                                                   17                     the scheduled petition for pretrial revocation hearing, but has yet to do so.
                                                                   18
                                                                                       3. Counsel for Defendant and Assistant United States Attorney, Allison Reese,
                                                                   19                     agree to the request for a continuance of the current petition for pretrial
                                                                                          revocation hearing and agree it is necessary to adequately prepare for the
                                                                   20                     hearing.
                                                                   21
                                                                                       4. Pursuant to 18 U.S.C. § 3161 (h)(7)(A), the Court finds that the “ends of
                                                                   22                     justice” will be served by granting this request for a continuance and that, if
                                                                                          the Court were to deny the request, a “miscarriage of justice” would result.
                                                                   23
                                                                   24
                                                                               In light of the foregoing findings of fact and conclusions of law, the Court concludes
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                                                                        that the ends of justice would be best served by a continuance of the current hearing on the
                                                                   26
                                                                   27   petition for pretrial revocation in this case. Accordingly, the current petition for pretrial

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                                                                        revocation hearing date of September 18, 2020 is hereby vacated.
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                                                                    2          ACCORDINGLY, the hearing on the petition pretrial revocation is set for
                                                                        Monday, October 5, 2020 at 1:00 PM in LV courtroom 3D before Magistrate Judge Cam Ferenbach.
                                                                    3   ____________________________.
                                                                    4
                                                                    5
                                                                                           18th day of September, 2020.
                                                                               DATED this _____
                                                                    6
                                                                    7
                                                                    8
                                                                                                                             __________________________________
                                                                    9                                                        CAM FERENBACH
                                                                   10                                                        UNITED STATES MAGISTRATE JUDGE
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                       4560 South Decatur Boulevard, Suite 300
PAUL PADDA LAW, PLLC




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                               Las Vegas, Nevada 89103




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